Exhibit 11
                            UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS
_________________________________________
                                                )
ANNA V. KASHPER, individually, and as mother )
and next friend of Three Minors and as personal )
representative of the ESTATE OF KONSTANTIN )
M. KASHPER,                                     )
                                                )
       Plaintiff,                               )
                                                ) C.A. No. 1:17-cv-12462-WGY
VS.                                             )
                                                )
TOYOTA MOTOR SALES, U.S.A., INC.;               )
TOYOTA MOTOR CORPORATION;                       )
ENTERPRISE FM TRUST; ENTERPRISE FLEET )
MANAGEMENT; JOHN DOE 1; JOHN DOE 2              )
and JOHN DOE 3,                                 )
                                                )
       Defendants.                              )
_________________________________________ )

             AFFIDAVIT OF WILLIAM W. VAN ARSDELL, PH.D.

      I, William W. Van Arsdell, on oath depose and state as follows:

1.    I am a professional mechanical engineer and the principal engineer of Engineering

      Principles, LLC.

2.    I have been retained as an expert by Toyota Motor Sales, U.SA., Inc. in this case.

3.    Attached as Exhibit A to this affidavit is a true and accurate copy of my expert report as

      well as a copy of my curriculum vitae, which describes my education, background,

      experience, and publications.

4.    The statements made in this report are true and accurate.

5.    The findings and opinions stated in the report are true and accurate, and are based upon

      my knowledge, education, training and expertise, my review of the materials described in

      my report, and my investigation and work done in this case.
Exhibit A
                                                                                Engineering Principles®, LLC
                                                                                20 Main Street, Suite 206
                                                                                Natick, Massachusetts 01760

                                                                                telephone    508-315-3900
                                                                                facsimile    866-447-2934




August 31, 2018


Mr. David Rogers, Esq.
Campbell Campbell Edwards and Conroy
One Constitution Plaza
Boston, Massachusetts 02129

Re:    Kashper v. Toyota


Dear Mr. Rogers,

At your request, Engineering Principles®, LLC has performed certain investigations regarding
the motor vehicle collision involving Konstantin Kashper. The purpose of this letter is to report
the results of my investigations to date. In general, I anticipate offering testimony in the areas
of mechanical engineering and the design, operation, usage, and performance of occupant
protection systems. Engineering Principles, LLC bills $550 per hour for my consulting
services.


QUALIFICATIONS AND METHODOLOGY

My expertise is in the discipline of mechanical engineering, including the fields of occupant
crash protection, accident reconstruction, mechanics, materials, and design. I have extensive
experience evaluating the performance of occupant protection systems including, but not
limited to, seat belts, airbags, seats, child restraint systems, and the crashworthiness of motor
vehicles. I have conducted over one hundred full-scale vehicle crash tests and sled tests and
reviewed thousands of additional crash and sled tests. I have evaluated and tested over one
thousand seat belts and have investigated hundreds of motor vehicle collisions. My research
addresses occupant protection, occupant kinematics, accident reconstruction, mechanics,
material selection, and the deformation, fatigue and fracture of materials.

I have a Ph.D. in Mechanical Engineering from the Massachusetts Institute of Technology, a
M.S. in Mechanical Engineering from the University of Illinois at Urbana-Champaign, and a
B.S. in Mechanical Engineering from the University of Arizona. As a graduate student, I have
taught mechanics and materials at the University of Illinois at Urbana-Champaign. I am a
NHTSA certified Child Passenger Safety Technician. I have successfully completed a Traffic
Accident Reconstruction Training course at Northwestern University.
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The generally accepted methodology for evaluating the design, safety and performance of
occupant restraint systems includes analysis of factors and background such as dynamic
testing, government standards, peer products, industry practices, field performance and
technical work published in the literature, particularly as of the time a product is designed. In
addition, the benefits and drawbacks of designs in real world applications should be
considered. For this matter, I have evaluated the forensic evidence, available test data,
literature, carefully considered all reasonable hypotheses, and considered plaintiff expert
theories, to reach my opinions and conclusions. Appendix A includes a list of materials that I
have reviewed as part of my investigation. This is the same methodology used by myself for
previous matters and by other experts and knowledgeable persons in the field of occupant
protection research.

SUBJECT COLLISION

On January 26, 2017, Mr. Konstantin Kashper was the driver and sole occupant of a 2016
Toyota Tacoma traveling on I-495. His vehicle reportedly went off of the side of the roadway
and subsequently rolled over. The vehicle was found on its roof at point of rest. Mr. Kashper
sustained fatal injuries.



In his undated report, Dr. Ziejewski, a consultant retained by Plaintiffs, makes several broad
claims about restraint technology without offering data, literature, testing or examples to
support or illustrate these claims.

He states that false latch 1 is possible with seat belt buckles but does not seem to have
evaluated either the subject buckle or the subject buckle design. He does not mention what seat
belt buckles, if any, he has evaluated for                                    . He does not define
what his criteria or protocol would be for evaluating partial engagement in seat belt buckles.
He states a                                                                      , but he does not
provide an example for the make and model of            properly designed seat belt. He does not
explicitly state that the Tacoma buckle is not a properly designed one. He does not explicitly
state that the subject Tacoma buckle either was partially
the subject rollover sequence happened, or if the Tacoma buckle design is prone to partial
engagement.

Dr. Ziejewski also opines                                                           not 100%
         but does not define or explain what he means. He does not explain if he has concerns
with specific EDR fields in the download, or all EDR fields. He does not provide any technical
basis whatsoever (including but not limited to literature, analysis, data, testing, industry or
government reports, or even anecdotal examples) for

1



report.
David Rogers, Esq.
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100% correc Dr. Ziejewski has relied on EDR data in other cases without noting such a
broad criticism. He does not provide any evidence that either the subject EDR design or the
specific subject EDR module had any documented issue, or that it would present data that is
              . He does not refer to any literature that an EDR record of belt status ON /
 OFF , or buckled / unbuckled) has been an issue, or shown to be faulty. He relies only on
testimony of                                     that Mr. Kashper always wore his seat belt.

Dr. Ziejewski states the subject "vehicle struck the rock wall at a speed of 31 mph and rolled
over." He does not state his basis for this speed. However, the EDR does indicate a speed of 31
mph just before the rollover (TRG 5); perhaps Dr. Ziejewski is selectively relying on the EDR
data.


EVENT DATA RECORDER (EDR)

The Event Data Recorder (EDR) of the subject Tacoma was downloaded (see Figure 1 for
excerpts; the complete 38 page report is in my file). The EDR has recorded four events (the
most recent event, and 3 events prior). The earliest event recorded (3rd Prior event, TRG 2) was
more than 16 seconds and 117 ignition cycles before the subject event and is not related to the
subject deployment crash sequence (the latest 3 events are all at ignition cycle 835, while TRG
2 is at ignition cycle 718). In all of the subject event records, the EDR shows that the driver
seat belt was unbuckled, consistent with the physical evidence2. In the EDR report, there were
no diagnostic trouble codes (DTCs) recorded for any event. The EDR confirms a side curtain
rollover airbag (SCRA) deploy signal was sent, and a pretensioner deploy signal was sent,
consistent with physical evidence. The download also includes information with respect to
vehicle acceleration, delta-V, roll-rates, vehicle speeds, accelerator and throttle conditions,
among numerous other data. All of this data is useful in helping to understand the subject
crash.




2
    For the 3rd prior event, TRG 2, 117 ignition cycles earlier, the EDR also shows the driver seat unbuckled.
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                     Figure 1: Subject 2016 Toyota Tacoma EDR download



VEHICLE INSPECTIONS AND PHYSICAL EVIDENCE

On May 7, 2018, I personally inspected the subject vehicle in Mendon, Massachusetts. The
subject vehicle is a 2016 Toyota Tacoma access cab pickup (VIN 5TFSX5EN5GX046995) that
is equipped with an aftermarket a bed cap and work rack.
intact, with the driver-side access door quarter-window glass not intact. The right-front
passenger door window and right-side access door quarter-window glass are not intact. The
windshield is fractured with a large hole but remains attached to the windshield surround.

The driver and right-front passenger seat belt retractor/latch plate assemblies are mounted to
their respective access doors on the driver and passenger sides of the vehicle. These are
lap/shoulder belt assemblies with dual sensing retractors, equipped with pretensioners and load
limiters. They have free-sliding latch plates and adjustable D-rings. The buckles are mounted
to the seats with steel stalks. The        adjustable turning loop is in the full-down position.
The driver seat belt is in the stowed position. The driver seat retractor pretensioner is
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deployed, with the retractor locked and jammed, so that the webbing is pulled tight against the
door and will not extract or retract. There are marks consistent with pretensioner deployment
on the D-ring. There are no occupant load marks visible on the webbing, D-ring or latch-plate.
There is a deposit on the webbing where the latch plate has settled above the stop button.




                                   Figure 2a: Driver D-ring


Both the driver and right-front passenger roof rail mounted side curtains are deployed. The
driver and passenger frontal airbag, the driver knee airbag, and the seat-mounted side airbags
are not deployed.

The subject seat belt and buckle are manufactured by TRQSS (retractor assembly model
A1501-P, buckle model B620). During my vehicle inspection, I evaluated the driver buckle
latching function using the right-front passenger latch plate; the driver buckle functions
properly and is not susceptible to partial engagement.

The subject buckle design is inherently resistant to partial engagement. I have thoroughly
examined an exemplar service replacement buckle to analyze both the latching/unlatching
mechanism and the buckle switch function, including disassembling this exemplar buckle
(Figure 3). The buckle switch is a non-contact switch. Although it is clear that the subject
buckle, and this buckle design in general are not prone to partial engagement, if somehow a
partial engagement condition was achieved, this switch and buckle design would not indicate a
status of unbuckled to the vehicle diagnostics even in this hypothetical partially engaged
condition. The fact that the EDR indicates that the buckle was unbuckled at the time of the
crash clearly indicates that the buckle was neither fully latched nor partially engaged at the
time of the subject collision and rollover sequence.
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   Figure 3: Photographs   2016 Toyota Tacoma service replacement buckle, mechanism
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DRIVE STUDY INSTRUMENTED BUCKLE

Both in previous investigations and additionally as part of a peer-reviewed SAE paper3, I have
directed drive studies, in which forces on the buckle were measured during normal driving
activities, such as accelerating, braking, reaching for the radio or turning to look at mirrors or
rearward. These studies establish that the forces on the latch plate and buckle can easily exceed
5 pounds and can be as high as 20 to 30 pounds.

On August 23, 2018, working at DRE and using a protocol similar to that used in my peer-
reviewed SAE paper I evaluated the subject buckle design in a buckled drive study4. An

a Toyota dealership for a Toyota Tacoma. The buckle assembly was modified by attaching a
full-bridge strain gage              steel strap. The overall buckle assembly length was not
changed. The buckle assembly with the strain gage was installed vehicle and a drive study was
performed.

During the drive study, three video cameras were used. One was focused on the seat belt
buckle, one was focused on the driver and one was mounted to the roof of the vehicle to show
the view ahead of the vehicle. In addition to the force on the seat belt buckle, additional data
was recorded including vehicle speed, vehicle acceleration, and vehicle location (using GPS).
The driver was not familiar with the purpose of the study and was instructed to make
adjustments to the seat, mirrors and steering wheel so that they could comfortably drive the
vehicle. They were asked to put on their seat belt, make several adjustments to the radio, reach
for the glove compartment, back out of a parking space and follow a predefined route. The
route included low speed, and highway speed driving and a number of typical driving
maneuvers including left turns, right turns, lane changes, and maneuvers representing a three
point turn and parking operations. During this drive study seat belt buckle loads exceeded 5
pounds.

As discussed in further detail elsewhere in this report, Federal Motor Vehicle Safety Standard
(FMVSS) 209 defines a latch plate that releases at less than 5 pounds as not being in a
condition of partial engagement; therefore the fact that the forces on the latch plate regularly
exceeded 5 pounds show, that if for some reason the subject seat belt buckle was not
completely latched, then the seat belt latch plate would have separated from the buckle during
normal driving conditions and Mr. Kashper would have become aware that the seat belt had
not been fully latched.

NAÏVE BUCKLING

In other investigations and as part of my peer-reviewed SAE paper5,
buckling studies in which adult drivers, unaware of the true purpose of the study, were asked to
3
                                  -                                                             -
01-0267.
4
  See DRE report 2018-DRE-138PT
5
  Ibid. (2011) Van Arsdell
David Rogers, Esq.
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sit in a vehicle and put their seat belt on. They were not given any specific instructions with
respect to using their seat belts, other than to sit in vehicle and begin to prepare for a trip. I
have also performed a similar study, not for litigation, and published these results in a peer-
reviewed SAE paper.6 As part of my investigation of the Kashper collision and rollover, I have
performed similar work using an exemplar Toyota Tacoma.

On August 23, 2018, at Design Research Engineering (DRE), seventeen people were asked to
sit in an exemplar Toyota Tacoma7. Their heights and weights were recorded. They were told
that we were studying how people interact with the interior of the vehicle but not that this
study was being done to evaluate seat belts or seat belt buckle function. They were asked to
enter the vehicle three times, and each time to make adjustments to the seat and mirrors and put
on their seat belt in order to prepare to drive the vehicle. The manner in which they latched the
seat belt was recorded using two video cameras with audio. The forces they exerted on the
buckle were measured using the same strain-gaged buckle that was used for the drive study.
See Figure 4a for an example of the forces measured as the first naïve subject latched the
buckle 3 times; and Figure 4b provides a more focused view of the data for just the first event.
Figure 5 is a summary of the peak forces these 17 occupants exerted on the buckle during their
latching events.




                          Figure 4a: Naïve subject 1- all 3 buckle latchings

6
    Ibid. (2011) Van Arsdell
7
    See DRE Report 2018-DRE-137PT, data and videos
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                     Figure 4b: Naïve subject 1- detail of first latching
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        Surrogate/Test         Latch 1                  Latch 2                 Latch 3
           Number        (Compression/Tension)    (Compression/Tension)   (Compression/Tension)
               1             -12.0 / 12.6 lb.          -9.1 / 8.5 lb.         -7.1 / 11.3 lb.
               2               -5.5 / 1.9 lb.          -7.2 / 2.3 lb.         -11.6 / 3.3 lb.
               3               -8.8 / 3.0 lb.          -4.1 / 2.3 lb.         -5.6 / 11.9 lb.
               4               -7.8 / 6.1 lb.          -7.1 / 3.3 lb.          -7.6 / 3.6 lb.
               5               -8.2 /3.1 lb.           -4.6 / 3.1 lb.          -6.4 / 4.7 lb.
               6              -12.5 / 6.7 lb.          -8.8 / 6.1 lb.          -8.2 / 5.5 lb.
               7               -8.9 / 6.0 lb.          -5.6 / 5.1 lb.          -7.7 / 4.2 lb.
               8             -11.0 / 10.2 lb.         -15.3 / 4.0 lb.         -19.1 / 2.7 lb.
               9              -7.4 / 34.6 lb.          -7.2 / 9.0 lb.          -6.4 / 4.1 lb.
              10               -9.7 / 2.4 lb.          -8.2 / 2.5 lb.          -9.5 / 2.6 lb.
              11               -8.7 / 1.5 lb.         -10.3 / 2.4 lb.          -9.2 / 2.7 lb.
              12               -8.4 / 9.7 lb.        -9.1 / 11. 6 lb.          -7.9 / 7.3 lb.
              13              -8.6 / 16.3 lb.          -9.3 / 6.8 lb.          -8.0 / 5.4 lb.
              14               -6.2 / 6.9 lb.          -6.0 / 5.2 lb.         -10.9 / 6.2 lb.
              15              -16.2 / 3.3 lb.          -8.3 / 4.3 lb.          -7.5 / 4.2 lb.
              16             -13.4 / 20.0 lb.        -15.3 / 25.2 lb.        -10.9 / 26.7 lb.
              17              -19.8 / 5.3 lb.         -12.3 / 9.9 lb.         -17.4 / 7.8 lb.

                               Figure 5: Summary of peak latching forces

This work confirms that while different people use different techniques when donning their
seat belts, all users exerted more than enough force to fully latch the subject buckle design.
This latching force is also applied relatively quickly as compared to the slow deliberate
insertion that is required to partially latch a buckle that may be prone to partial engagement.
This work demonstrates techniques representative of actual use to latch a seat belt buckle.

As discussed in further detail elsewhere in this report, this established that users when latching
the buckle with a technique representative of actual use will exert enough force to securely
latch the subject buckle design and often tug on the latch plate with sufficient force (over 5
pounds) such that the latch plate would separate from the buckle if the buckle was not fully
latched.

I also evaluated when the seat belt warning system was disabled as a latch plate was inserted
into the buckle.8 I found that the warning system is disabled after the latch plate is inserted
into the buckle, but well before the buckle is latched. Although the subject buckle specifically
and the buckle design in general are not prone to partial engagement, if (hypothetically) the
buckle were somehow in a condition of partial engagement, this would occur when the buckle
was almost fully inserted into the buckle. My evaluation of the buckle warning system
(controlled by the buckle switch) clearly shows that the buckle status would be recorded as

8
    See DRE Report 2018-DRE-137PT, Test 18, data and videos
David Rogers, Esq.
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buckled even if the buckle was partially engaged. Therefore, the fact that the EDR recorded
the buckle status during the subject collision and rollover sequence as unbuckled proves that
the buckle could not have been either fully engaged or partially engaged and that Mr. Kashper
was therefore not wearing his seat belt at the time of this crash.

DRIVE STUDY UNBUCKLED DRIVER

On August 24, 2018 with the assistance of Design Research Engineering (DRE) at a controlled
test and race track in Michigan, an unbuckled drive study was conducted in an exemplar
Toyota Tacoma pickup9. The driver was unbuckled and the status of the warning light and
chime/buzzer were monitored with a video camera that recorded both video and sound. A
second video camera on the roof showed the view of the track ahead of the vehicle. A GPS
system was used to independently monitor speed and position. The video and data
demonstrates the time when the warning buzzer and status of warning light changed.

EXEMPLAR PRETENSIONER DEMONSTRATION

On August 23, 2018, at DRE, I conducted two pretensioner deployments.10 In the first
deployment, a 50th percentile HIII anthropometric test device (ATD) was seated in an exemplar
Toyota Tacoma, with its left hand on the steering wheel. The right arm was placed on the arm
rest to allow for a clear view of the buckle. The seat belt was properly
torso and lap/pelvis. The latch-plate was taped to the buckle cover to simulate a buckle that
was somehow in a condition of partial engagement (                   . The pretensioner was
deployed. The event was recorded with both high-speed and real-time video. When the
pretensioner was deployed, the webbing was partially retracted but did not return to the stowed
position (Figure 6). At the end of the demonstration, the seat belt was partially extended and
was still draped around the ATDs left arm. The retractor was not jammed (i.e. webbing would
still retract). This is not consistent with
                                                                                              rim
of the vehicle with a locked and jammed retractor.




9
    See DRE Report 2018-DRE-140PT
10
     See DRE videos 2018-DRE-139PT
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       Pre deployment of pretensioner                     Post deployment of pretensioner

   Figure 6: Still frame images from pretensioner deployment with taped latch-plate buckle

After replacing the seat belt with a new service replacement seat belt, a second demonstration
was conducted. I deployed the driver pretensioner with the belt in the stowed position. In this
second demonstration, the seat belt was pulled tight against the interior trim of the vehicle and
retractor was locked and jammed. This is consistent
belt at the end of his collision and rollover sequence and further proves that Mr. Kashper was
not wearing his seat belt at the time of this crash. (The high-speed video for each of these tests
is in my file).

As discussed elsewhere                                                                   ed
and jammed with the webbing tight against the interior trim of the vehicle in a stowed
condition clearly shows that Mr. Kashper was not wearing his seat belt when the pretensioner
deployed in the subject crash.

SURROGATE STUDY

Also on August 23, 2018, I conducted a surrogate study at DRE with an exemplar 2016 Toyota
Tacoma and a surrogate that was similar in height and weight to Mr. Kashper. Dr. Richard
Evans, the county coroner who conducted                  autopsy, testified that Mr. Kashper
was 5 foot 6 inches, weighing 211 pounds. My male surrogate was about 5 foot 6.5 inches tall
and weighed approximately 232 pounds. The driver seat and D-ring (ATL) were adjusted to
the position as found during my vehicle inspection. The ATL was in the lowest position.

The surrogate was properly positioned in the driver seat and restrained with a properly
positioned and snug seat belt (Figure 7). When properly positioned and buckled, the Toyota
Tacoma seat belt provides good fit for an occupant the size of Mr. Kashper.
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                                     Figure 7: Surrogate Photographs


TESTIMONY

Anna Kashper

Dr. Ziejewski seems to rely exclusively on the testimony of Anna Kashper that Mr. Kashper
was likely buckled at the time of the crash sequence. Although Ms. Kashper did testify that Mr.
Kashper typically wore his seatbelt in his personal vehicles, she testified11 that she was
personally unaware of Mr. Kashper seat belt use in the Tacoma, his work vehicle:

           Page    Line
           58      8 Q. Did you ever ride in the Tacoma?
                   9 A. No.


11
     Deposition of Anna V. Kashper, June 25, 2018
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                   19 Q. So it's fair to say you were never in that
                   20 vehicle with Konstantin when he drove it?
                   21 A. No.

           59      20 Q. Do you know whether he used a seatbelt
                   21 while he was driving in the Tacoma?
                   22 A. I don't know.
                   23 Q. Did you and he ever talk about it?
                   24 A. No.


FEDERAL MOTOR VEHICLE SAFETY STANDARD (FMVSS) TESTING

For over 50 years, the United States Department of Transportation (DOT) has worked to

result of the design, construction or performance of motor vehicles and is also protected
                                                                                         12
against unreasonable risk of death or injury to p                                           This

division of the DOT. To this end, NHTSA developed numerous Federal Motor Vehicle Safety
Standards (FMVSSs) that all U.S. sold passenger vehicles must comply with. Vehicles that
comply with these FMVSS have been shown to be highly effective in reducing the likelihood
of serious injuries and fatalities in reasonably foreseeable motor vehicle accidents. Any
suggestion that the FMVSS are minimally effective in protecting occupants from injury or
death is unfounded and misleading. The FMVSSs consist of a set of specified tests that,
generally speaking, evaluate the vehicle or its components relative to design and performance
requirements. FMVSS 208 consists of a suite of tests that evaluates, among other things, driver
and right-front passenger belted and unbelted performance in frontal collisions. FMVSS 209
tests and evaluates all vehicle seat belt assemblies at the component level. FMVSS 210
evaluates the integrity of all seat belt anchorages in a vehicle.

The subject seat belt was thoroughly and appropriately tested by Toyota beyond the
requirements of the relevant FMVSSs, including FMVSSs 208, 209 and 210. The subject seat
belt provides a reasonable level of protection in reasonably foreseeable collisions and
rollovers, complies with all applicable FMVSSs, and is not defective. It has been shown in a
number of studies that seat belts that comply with FMVSSs are highly effective in reducing
injuries and death in reasonably foreseeable motor vehicle accidents. 13, 14, 15, 16, 17, 18, 19, 20
12
     (1966) Congress Public Law 89-563.
13
     (1984) Kahane,
14
                                                                                    njury in Front and
Rear Impacts -                                -1998-4047.
15

NHTSA
16

HS 808 019.
17
David Rogers, Esq.
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All FMVSSs are continually reviewed and updated by NHTSA. Publication of a proposed
update is followed by an open comment period, where input and feedback are given by the
automotive industry, research and educational institutions, engineering organizations and the
general public. As stated in the Congressional law that enacted the FMVSSs, these standards
                                              protected against unreasonable risk of accidents
occurring as a result of the design, construction or performance of motor vehicles and is also
protected against unreasonable risk of death or injury to persons in the event accidents do
        21


The Toyota Tacoma has been tested to ensure compliance with the FMVSSs. Full barrier tests
have been conducted to demonstrate effective occupant protection in frontal collisions at 0
degrees, 30 degrees to the left (barrier rotated counter clockwise as viewed from above), and
30 degrees to the right. Tests have been run to show good performance in offset collisions and
side impacts. The 2016 Toyota Tacoma was certified to the requirements of the FMVSS 208
and was tested in a number of test modes, including 25 mph offset deformable barrier (ODB),
30 mph flat and angled barriers, and 35 mph frontal barrier22.

The 2016 Toyota Tacoma occupant restraint system, including the seat belt, complies with all
applicable FMVSSs. Materials produced by Toyota show that the seat belts meet or exceed the
requirements of FMVSS 209. The occupant restraint system, including but not limited to the

anchorages meet the requirements of FMVSS 210.23

Seat belts have been shown to be highly effective in reducing the risk of injuries and fatalities
in all types of motor vehicle accidents. It is well established in the literature, by NHTSA and
by researchers that the primary occupant restraint device is the seat belt. Obviously, for seat
belts to be effective, they must be worn and worn properly. Seat belted occupants are
significantly less likely than unrestrained occupants to be seriously injured or killed during a



18
                                                         -
NHTSA DOT HS 809 199.
19

Technologies, 1960-
20
                                                                              l Motor Vehicle Safety
21
   (1966) US Congress Public Law 89-563.
22
   Partial, non-exhaustive list includes: TOY-KASHPER-00016400, TOY-KASHPER-00016418, TOY-
KASHPER-00016436, TOY-KASHPER-00016459, TOY-KASHPER-00016482, TOY-KASHPER-00016504,
TOY-KASHPER-00016526, TOY-KASHPER-00016548, TOY-KASHPER-00016565, TOY-KASHPER-
00016587, TOY-KASHPER-00016609, TOY-KASHPER-00016631, TOY-KASHPER-00016653, TOY-
KASHPER-00016675, TOY-KASHPER-00016697, TOY-KASHPER-00016718, TOY-KASHPER-00016724,
TOY-KASHPER-00016730. Other relevant materials reviewed and relied upon are      _TMC Letter
                     s II, V, VI, VIII and X.
23
   TOY-KASHPER-00017051, TOY-KASHPER-00017064, TOY-KASHPER-00017072, TOY-KASHPER-
00017074, and including references in (22) as well.
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rollover.24 However, no seat belt or any occupant restraint system can prevent all injuries in all
collisions and rollovers.

Neither in 2016 nor currently is there an occupant protection rollover requirement in the
FMVSSs, nor is there a standardized industry test to evaluate occupant protection in actual
vehicle rollovers. Rollover testing presents many challenges. Rollover tests typically do not
produce repeatable results even when identical vehicles are rolled under virtually identical
conditions. By conducting testing of the subject generation Toyota Tacoma in rollover tests,
and including rollover activated safety devices Toyota exceeded the regulatory requirements.
However, as discussed elsewhere in this report, the primary safety device in any crash is the
vehicle seat belt; clearly it must be worn, and worn correctly, in order to be effective.

DISCUSSION

Seat Belt Physical Evidence

From conversations with Mr. Don Tandy regarding his reconstruction of this collision and
rollover sequence, the subject crash sequence consisted of a frontal impact and rollover. His

Tacoma struck the rock wall at speed of 27 to 34 mph, and subsequently rolled (1/2 roll) onto
its roof.

The fact that the seat belt is stowed, locked and jammed as well as the marks on the webbing,
D-ring and latch plate show that Mr. Kashper was not wearing his seat belt at the onset of the
crash. The literature contains numerous examples of how engineering analysis of seat belt
marks can be used to reliably determine if and how a seat belt was worn and how the seat belt
performed in a collision.25,26,27,28,29,30,31,32,33,34,35,36,37,38,39,40 I have published a peer-reviewed


24
     Ibid (2000) Kahane,
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International Conference on Impact Trauma.
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                                                                                           ensic Sciences
1990 Jan,35(1):69-79.
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1999-01-0441.
30
                                                                                   -01-1317.
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                               -01-0900.
32

SAE 2006-01-0904.
33

                               -01-1128.
34
                                                                                  cal Injury Potential Due
                                -01-1670.
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paper looking at this subject.41 When the webbing moves over a plastic surface (like the latch
plate or D-ring) with sufficient speed and force, the plastic softens, and is pushed in the
direction of loading and webbing movement. When the webbing movement reverses direction,
multiple loading events may be detected on the latch plate.

I have evaluated the restraint systems in many vehicles subjected to rollovers, with both
restrained and unrestrained occupants, and in both field studies and controlled testing. While it
is true that restrained occupants sometimes leave less distinctive marks on the seatbelt webbing
and hardware in rollovers as opposed to some planar (non-rollover) crashes, in virtually all
rollovers that I have investigated with restrained occupants or dummies, there is typically some
level of forensic marks created. There are no visible marks consistent with seat belt use in Mr.


Pretensioners typically enhance the overall performance of the occupant protection system by
tightening the seat belt early in a collision sequence. It is not unusual to deploy a pretensioner
even if the seat belt is unbuckled. Toyota designed the subject seat belt pretensioner to deploy
even if the seat belt is not being used. During the subject collision, the pretensioner deployed;
the evidence proves that the pre-tensioner deployed with the seat belt in a stowed position.
Following the collision sequence, the seat belt was pulled tight against the interior trim of the
vehicle and the retractor was locked and jammed. This proves that Mr. Kashper was not
wearing his seat belt at the time of this crash.

Partial Engagement

I have evaluated both the subject buckle in particular and the subject buckle design in general.
During my vehicle inspection on May 7, 2018 I evaluated the subject
that was available to Mr. Kashper                                                (with the right-
front passenger latch plate) and determined that it was not prone to partial engagement. I also
performed testing at DRE on August 23, 2018 using an exemplar Tacoma seat belt buckle. I
repeatedly attempted to partially engage the subject buckle design by slowly inserting the latch
plate. I was not able to partially latch the exemplar seat belt buckle. Each time I attempted to
partially latch the seat belt buckle one of two things occurred: either the buckle completely and
securely latched, or the buckle did not latch and the ejector ejected the latch plate. The subject

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SAE 2008-01-0160.
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                                                                                 -01-1242
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2009-01-1243.
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                             -01-1252.
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IMECE2011-64736.
41
                                                                  -                         -01-
1249.
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                                                                   particular are not susceptible
to partial engagement (                  ). Dr. Ziejewski

as well as my evaluations discussed in this report and further detailed in my file materials.

As discussed elsewhere in this report, I have published a peer-reviewed paper on the subject of
buckle insertion forces, including evaluating partial engagement, and the forces on a buckle
under normal driving conditions42. FMVSS 209 specifies requirements for seat belt assemblies
for use in passenger vehicles. Section S5.2(g) requires that the buckle be examined to
                                                                                             ive of
                                                                                               by
a means of any technique representative of actual use, then sections S4.3(g) and S5.2(g)
                                                                    table, a seat belt buckle must
separate when a force of not more than five pounds is applied to the latch plate. This ensures
that if a condition of partial engagement exists, the latch plate would likely separate from the
buckle and would be easily detectable by the occupant under regular driving (non-collision)
conditions. Five pounds is a reasonable limit to assess the level of buckle engagement, and a
buckle complying with this limit will readily become detached under normal driving conditions
and is therefore self-detecting.

To correctly determine whether or not there is a condition of partial engagement, the force to
release the latch plate from the buckle must be measured, and then shown to be greater than
five pounds. If the latch plate appears latched in the buckle, and releases with less than 5
pounds, the buckle is not in a state of partial engagement. Even when attempting to latch the
subject buckle design with a technique that was not representative of actual use43, I was unable
to achieve a situation where the latch plate stayed in the buckle unlatched. As described in this
report, and detailed in my file materials, the latch plate either latched fully in the buckle, or
was ejected from the buckle by the ejector.

The naïve surrogate study I conducted for this matter, as well as similar work conducted for
my SAE paper and in other matters, and as documented by other researchers in peer reviewed
literature44 validate the principle that seat belt buckles in general will latch with appropriate
forces, and they are not susceptible to partial engagement when buckled by users, especially
when latched with techniques representative of actual use.

Mr. Kashper was apparently driving on the interstate for at least several miles when the crash
occurred. Prior to this crash, as Mr. Kashper left his parking site, drove to the interstate on-
ramp, merged onto the interstate and travelled at highway speeds, it is extremely likely that at
least five pounds of webbing tension would have developed on the buckle (if Mr. Kashper had
been using his seat belt), based on work done for this matter with an instrumented driver
buckle, as well as work done in other matters. If somehow, Mr.                 buckle was partially
42
     Ibid. (2011) Van Arsdell
43
     Ibid DRE Report 2018-DRE-137PT, Test 18, data and videos
44

ASME SBC2007-175551.
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engaged as he left his parking site, as he drove to the scene of the crash, the seat belt tension
would have been sufficient to pull the latch plate out of the buckle, the seat belt pressure on

have been turned on, and it would have been readily apparent to Mr. Kashper that the seat belt
was not latched.

Based on testing and investigations conducted and reported in the literature as well as my
Tacoma pretensioner deployment demonstrations discussed above, if Mr. Kashper had been
wearing his seat belt and if somehow the seat belt buckle had become unlatched prior to or
during the collision sequence, he would have become entangled in his seat belt during the
frontal crash or the rollover. Entanglement would have created marks on both the seat belt and

the interior trim of the vehicle with a locked and jammed retractor (as discussed above). The
seat belt webbing and hardware lack any evidence of entanglement, which would leave
distinctive marks on the hardware and webbing. Per Dr. Raphael, Mr. Kashper had no evidence
of belt entanglement injuries or marks on his body, nor did he have injuries or marks consistent
with the seat belt being worn. The evidence on the seat belt and on the body when there is seat
belt entanglement (with intentionally released seat belts) has been thoroughly discussed in the
literature and in testing45,46,47.

Inertial Release and Inadvertent Contact

While Dr. Ziejewski does not mention other possible theories of buckle release, he very
broadly states "[if] Konstantin Kashper thought his seat belt was properly buckled and latched,
and even if the cause of Konstantin Kashper to be unprotected was something other than false
latching, the Vehicle was not fit for its purposes                      e may be implying other
mechanisms of buckle release other than partial engagement (or false latch). In the past, some
experts retained by other plaintiffs have alleged that a buckle may in some cases release by
mechanisms referred to as inertial release and inadvertent contact.

                                                   is defined as the release of the latch plate from
a seat belt buckle due to acceleration. Seat belt buckles have an inherent resistance to inertial
release. At any given webbing tension, a buckle will not release unless sufficiently high

inherent resistance to inertial release increases with higher webbing tension and shorter pulse
duration. Properly restrained occupants load the seat belt, increase the webbing tension, and
                                                                                   esistance to
inertial release. Dr. Ziejewski has not identified that the subject rollover has any, much less all,
of the necessary and sufficient elements of direction, magnitude and duration to cause inertial

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                                 -01-1670.
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2007-01-1501.
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                     -01-1237.
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release. Multiple researchers48,49,50,51,52 including myself 53,54 have demonstrated these
fundamental principles in peer- reviewed, published research. Based on that body of

reconstruction of this collision and rollover sequence, the subject buckle could not have
inertially released in the subject crash.

                                                                        , this is defined as
unintended contact with and depression of the press button such that the latch plate is released
from the buckle. I have published a peer-reviewed paper on the subject of seat belt buckle
release by inadvertent contact55 that examined this phenomenon and its likelihood. In order for
release by inadvertent contact to occur, there must be contact of a sufficient duration and force
to push the press button until it moves sufficiently to release the latched buckle. The presence
of webbing tension, as occurs during motor vehicle accidents, including rollovers, increases the
force and energy required to actuate the press button. Occupant kinematics and the likelihood

collision sequence would not be expected to lead to occupant kinematics that would result in
release by inadvertent contact. The forces acting on a vehicle during typical crashes or

manner as to cause buckle release. The possibility of release by inadvertent contact must be
balanced with the requirement of easy and rapid removal to maximize safety and promote seat
belt usage. Based on the literature, my previous research and investigations, and my review of
                                       ision and rollover sequence, the subject buckle could not
have released by inadvertent contact in the subject crash.

Furthermore, if somehow the buckle had inertially or inadvertently released during this crash,
there would be evidence of entanglement on
the seat belt would not have been found tight up against the interior trim in a stowed condition
with the retractor locked and jammed (as described elsewhere in this report, and as
demonstrated in my belted pre-tensioner deployment).




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                                                                       -01-1706.
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01-1709.
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                                       ct of Amplified Vehicle Accelerations on Seat Belt Buckle Resistance to
                           -01-0854.
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                                                    -                                                      -01-
0915.
55
   (2008) Davee, D., Van Arsdell et                                                                -01-1236.
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Event Data Recorders

The Tacoma event data recorder (EDR) is mounted along the centerline of the vehicle.
Multiple events can be recorded. The EDR will record a trigger event when the vehicle
undergoes forces that exceed a specified threshold, which is different depending if the crash is
a frontal, side or rollover crash. This event (or algorithm enable) is not necessarily of a level
that will deploy an airbag or pretensioner.                                            or
pretensioner deployment and cannot be overwritten. If airbags or a pretensioner are not
deployed, events may be overwritten if subsequent triggering events occur. Toyota EDRs do
not record date or time stamps, but do record certain time intervals between trigger events, and
the number of ignition cycles at the time of the event.

There is a substantial amount of literature and field data establishing that EDRs are highly
reliable in general56,57, and Toyota EDRs are reliable in particular58,59,60,61,62,63, 64,65,66,67.
NHTSA has specifically evaluated whether Toyota EDRs have a defect and found that they do
not.68 While Dr. Ziejewski states         are not 100%             , he provides no explanation of
what he means by this; and offers no data or other foundational materials to support this. The
literature referred to above                                                         ON         OFF
was recorded incorrectly either in the field or in testing.

The subject EDR download shows that in the second most recent event (TRG 4) the SCRA and
pretensioner deployment signal was sent 1164 milliseconds (ms) after the rollover event
initiated. In the                   (TRG 5), the frontal collision, the forces were sufficient to
send a pretensioner deploy signal 59 ms after the frontal collision event initiated, but not severe
enough to deploy the frontal airbags.

Seat Belt Warning System: Buzzer and Lamp

To encourage an unbuckled driver to wear the available seat belt, the 2016 Toyota Tacoma has
an extended series of audible warnings (buzzers/chimes) as well as a warning lamp on the

56
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2013-01-1265.
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                                                                                                       -039
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60
   (2012) Brown, R. et al.                        -CAN Pre-                          -01-0996.
61
                     -crash EDR Field Inspections During March -
62
                                                          -                         -01-0998.
63
   (2012) Ruth, R. e
                              -01-0999.
64
                                                                   -                              -01-0503.
65
     (2014) Webster, G.                                                                             -01-0505.
66
                                               EDR                                                        -01-
1495.
67
                                                           nsitivity of Generation 1,2 and 3 Toyota Event Data
Recorders in Low-                             -01-1494.
68
   (2016) Denial of Petition - Toyota EDR Defect. 81 FR 11353.
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instrument panel.                                                                    of these
warnings (see Figure 8). The unbelted drive study described above confirmed that the actual
function of the subject Tacoma seat belt warning system is consistent with the description in
                          While these warnings are appropriate and effective, literature and
research 69,70,71,72
                     has shown that while these enhanced series of warnings do increase belt use,
there remains a population who do not heed these warning or use their available seat belts.




                      Figure 8



NCAP / IIHS Testing

In addition to the FMVSSs that are developed and enforced by NHTSA, there are additional
crash tests that are routinely conducted by NHTSA, the auto manufacturers and other
organizations to help ensure that U.S. passenger vehicles provide a high level of occupant
protection even in severe collisions. The most common consumer metric tests conducted are
the New Car Assessment Program (NCAP) tests conducted by NHTSA and tests conducted by
the Insurance Institute for Highway Safety (IIHS). I have reviewed both Toyota produced
testing, and publicly available NHTSA73 and IIHS74 testing for the 2016 Tacoma series, and
the Tacoma occupant restraint system provides effective occupant protection even under these
very severe crash conditions. I am aware of no report of the subject buckle design being
susceptible to partial engagement, or that the subject seat belt buckle design released
unintentionally during any testing.




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Prev 8:293 296.
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DOT HS 810 848.
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73
     NHTSA tests 9591, 9594, 9595
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     IIHS tests CEF1701, CEN1707, CEN1638, CES1702
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Recall History of Tacoma

The 2016 Toyota Tacoma occupant protection system has been tested by NHTSA on numerous
occasions. All NHTSA testing indicates that the occupant protection system, including the seat
belts, perform well and comply with the performance requirements of the applicable FMVSSs.

products. Each year NHTSA administers hundreds of recalls. The 2016 Toyota Tacoma seat
belt system has never been the subject of a recall.


SUMMARY OF KEY CONCLUSIONS

Based on my background and experience in the areas of mechanical engineering and occupant
restraint systems, and the materials reviewed to date, I have formed the above (contained in the
body of this report) and following opinions to a reasonable degree of engineering certainty. As
additional information becomes available, it may be necessary to continue my investigation
and supplement or modify my opinions and conclusions.

   1. Based on all available information (including the design and function of the seat belt
      and sensing systems, testing, analysis, EDR data, physical evidence, the literature and
      consultation with other experts), Mr. Kashper was not wearing his seat belt at the time
      of the subject crash.

   2. The final condition of the driver seat belt is not consistent with seat belt buckle having
      been in a partially engaged condition immediately before the subject crash.

   3. The final condition of the driver seat belt is not consistent with seat belt buckle having
      released by any mechanism immediately before or during the subject crash.

   4. If the seat belt had been partially engaged and released, the seat belt would not have
      been found in a stowed condition tight against the interior trim with a locked and
      jammed retractor and there would be clear evidence of entanglement on both the seat
      belt and on Mr. Kashper           .

   5. The subject seat belt buckle is not prone to partial engagement (               . During
      my inspection of the subject vehicle, I was unable to partially latch the subject seat belt
      buckle.

   6. The subject seat belt buckle design is not prone to partial engagement. During my
      testing and evaluations, I was unable to partially latch the subject seat belt buckle
      design; in this testing and evaluations, the buckle either fully latched or the latch plate
      was ejected by the ejector.
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   7. If Mr. Kashper had been properly positioned and wearing his seat belt properly, the
      occupant protection system would have performed well and reduced the risk of serious
      injury or death in motor vehicle crashes including rollover events.

   8. The subject 2016 Toyota Tacoma occupant restraint system performed as designed in
      the subject crash.

   9. The 2016 Toyota Tacoma driver occupant restraint system, including but not limited to
      the seat belt assembly, is appropriately designed and manufactured and is reasonably
      safe for its intended and foreseeable purposes. It is not defective and/or unreasonably
      dangerous.

   10. The 2016 Toyota Tacoma driver occupant restraint system, including but not limited to
       the seat belt assembly, meets all relevant FMVSSs.

   11. Occupant protection systems that comply with the FMVSSs have been shown to be
       highly effective in reducing the risk of injury and death in motor vehicle collisions.

   12. Toyota conducted a reasonable amount of testing in the design and development of the
       2016 Toyota Tacoma driver occupant restraint system, including but not limited to the
       seat belt assembly.

   13. Testing shows good performance of the 2016 Tacoma driver occupant restraint system,
       including but not limited to the seat belt.

   14. EDRs are considered a reliable source of crash data. There has been no data presented
       in this matter, or that I am aware of, that the EDR download for the subject crash is
       unreliable. In particular, I am not aware of any data that supports an opinion that the
                                                                              incorrect.

   15. The EDR data that indicates that Mr. Kashper was not wearing his seat belt at the time
       of this crash is reliable and correct.

   16. The EDR data is consistent with the physical evidence, and the reconstruction of Mr.
       Tandy.
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   17. No occupant restraint system, including but not limited to the seat belt assembly, can
       prevent all injuries to all occupants in all motor vehicle accidents.

   18. Seat belts must be used and used properly in order to provide occupant protection.




Sincerely,




William W. Van Arsdell, Ph.D., P.E.
Principal Engineer
Enclosures
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Appendix A: Materials Reviewed

   1. Court Documents:
         a. Kashper v. Enterprise Fleet Mgmt. et al. Complaint (Middlesex Superior Court)
         b.
         c.
         d.
         e.                                                 d RPDs
         f.

   2. First Responder Reports:
          a. Massachusetts Motor Vehicle Crash Police Report
          b. MA State Police CARS Report
          c. MA State Police Crash Report
          d. Milford Fire Department Records

   3. Photographs and Video:
         a. Barry Hare Site Inspection Photos
         b. Plaintiff Provided Photos 2017.11.16 and 2017.12.21
         c. MA State Police Photos
         d. MA State Police Crime Scene Photos
         e. DRE Photos, taken August 23, 3018
         f. Engineering Principle Vehicle Inspection Photos, taken May 7, 2018
         g. Engineering Principle Inspection Photos (exemplar buckle and DRE test
             articles), taken August 30, 2018

   4. Depositions and Exhibits of:
         a. Cavanaugh, Sean, taken April 6, 2018
         b. Collins, William, taken June 7, 2018
         c. Detore, Michael, taken June 7, 2018
         d. Dzivasen, Kiel taken June 26, 2018
         e. Evans, Richard taken June 12, 2018
         f. Hare, Barry taken July 27, 2018
         g. Hunt, Timothy, taken April 6, 2018
         h. Kashper, Anna, taken June 25, 2018
         i. Kelley, Matthew, taken April 6, 2018
         j. McDonald, Steven, taken May 30, 2018
         k. Wollanski, Richard taken July 30, 2018


   5. Expert Reports of:
         a. Peretti, Frank
         b. Feigen, Gerald
         c. Ziejewski, Mariusz
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   6. Testing:
         a. DRE Toyota Tacoma Evaluations, August 23, 24 2018
               i. Reports, photos, data and video

   7. Production Subject to Protective Order:
         a. TMC Letter Production
         b. TMS RPD Responses
         c. TMS Supp IDS
         d. TMS Supp IDS PO

   8. Medical Records from:
        a. Milford Regional Medical Center Records
        b. Medical Examiner's Report

   9. Miscellaneous:
         a. Bosch Crash Data Retrieval Report 5TFSX5EN5GX046995_ACM
         b. Tacoma Owner's Guides 2016-2018
         c. Tacoma Owner's Manuals 2016-2018
         d. Tacoma Sales Brochures 2016-2018
         e. 2017.04.27 Dealer Letter Safety Recall HOG
         f. Technical Instructions Safety Recall HOG
         g. Exemplar Toyota Tacoma buckle and retractor assemblies
         h. Naïve buckle studies from other matters
         i. Drive studies from other matters
